Case 5:10-cv-00657-WTH-DAB Document 4 Filed 03/30/11 Page 1 of 4 PageID 19




                                               IN THE DISTRICT COURT IN AND FOR
                                               THE MIDDLE DISTRICT OF FLORIDA
                                               OCALA DIVISION

                                               CASE NO. 5:10-cv-00657-WTH-DAB
DUSTIN and TINA HALL,

       Plaintiffs,

v.

CRESTWOOD MANAGEMENT, LLC,
a corporation, and JASON RAYFORD,
an individual,

      Defendants.
_____________________________________/

                                    AMENDED COMPLAINT

       1.      This is an action brought under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq.

                                  JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.

       3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where the acts

and transactions giving rise to Plaintiffs’ action occurred in this district, where Plaintiffs reside in

this district, and where Defendants transact business in this district.

                                              PARTIES

       4.      Plaintiffs, DUSTIN and TINA HALL (“Plaintiffs”), are natural persons who at all

relevant times resided in the State of Florida, County of Hernando, and City of Spring Hill.

       5.      Plaintiffs are “consumers” as defined by 15 U.S.C. § 1692a(3).

       6.      Defendant,      CRESTWOOD           MANAGEMENT,            LLC      (“Defendant”)     or

(“CRESTWOOD”) is a limited liability company who at all relevant times was engaged, by use
Case 5:10-cv-00657-WTH-DAB Document 4 Filed 03/30/11 Page 2 of 4 PageID 20




of the mails and telephone, in the business of attempting to collect a “debt” from Plaintiffs, as

defined by 15 U.S.C. §1692a(5).

       7.        At all relevant times herein, Defendant, JASON RAYFORD (“Defendant

Rayford”) was Owner of Defendant Crestwood. As an officer, shareholder and/or director of

Defendant Crestwood, Defendant Rayford was responsible for the overall success of the

company.       Defendant Rayford is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6): he materially participated in collecting debt by occupying a position of critical

importance to Defendant Crestwood’s business; as the owner of Defendant Crestwood, he

exercised control over the affairs of a debt collection business; and he was regularly engaged,

albeit more often indirectly than directly, in the collection of debts through his involvement in

Defendant Crestwood’s affairs and Defendant Rayford continued to play a key role in

maintaining and expanding Defendant Crestwood’s debt collection activities throughout the time

in question.

       8.        Defendants are a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                   FACTUAL ALLEGATIONS

       9.        Plaintiffs are natural persons obligated, or allegedly obligated, to pay a debt owed

or due, or asserted to be owed or due a creditor other than Defendants.

       10.       Plaintiffs’ obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendants, arises from a transaction in which the money, property,

insurance, or services that are the subject of the transaction were incurred primarily for personal,

family, or household purposes.
Case 5:10-cv-00657-WTH-DAB Document 4 Filed 03/30/11 Page 3 of 4 PageID 21




       11.      Defendants use instrumentalities of interstate commerce or the mails in a business

the principal purpose of which is the collection of any debts, and/or regularly collects or attempts

to collect, directly or indirectly, debts owed or due, or asserted to be owed or due another.

       12.      Defendants, via its agent and/or employee “Lisa Volstad,” placed a telephone call

to Plaintiffs on September 1, 2010 @ 1:13 P.M., and at such time, failed to disclose to Plaintiffs

its true corporate or business name.

                                             COUNT I

       13.      Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1

through 12.

       14.      Defendants violated 15 U.S.C. § 1692d(6) by failing to disclose Defendants’ true

corporate or business name in a telephone call to Plaintiffs.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             a) Adjudging that Defendants violated 15 U.S.C. § 1692d(6);

             b) Awarding Plaintiffs statutory damages, pursuant to 15 U.S.C. §1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiffs actual damages, pursuant to 15 U.S.C. §1692k;

             d) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiffs any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                         TRIAL BY JURY

       15.      Plaintiffs are entitled to and hereby demand a trial by jury.
Case 5:10-cv-00657-WTH-DAB Document 4 Filed 03/30/11 Page 4 of 4 PageID 22




     Respectfully submitted this 30th day of March 2011.

                                             Respectfully submitted,
                                             DUSTIN and TINA HALL


                                             By: /s/ Alex Weisberg
                                             ALEX D. WEISBERG
                                             FBN: 0566551
                                             WEISBERG & MEYERS, LLC
                                             ATTORNEYS FOR PLAINTIFFS
                                             5722 S. Flamingo Rd, Ste. 656
                                             Cooper City, FL 33330
                                             (954) 212-2184
                                             (866) 577-0963 fax
                                             aweisberg@attorneysforconsumers.com
